                               Case 3:11-cv-00532-AC                                Document 1-1                    Filed 04/29/11                Page 1 of 1
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VIS 44 (Rev. 12/07)                                                    CfVIL COVER SHEET
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                                                                                               States inSeptember 1974, isrequired fordieuseoftheClerkof Court fordiepurpose of initiating

I. (a) PLAINTIFFS                                                                                       DEFENDANTS

    DEANNATERNES                                                                                            NCO FINANCIAL SYSTEMS, INC.

    •b)     Countv of Residence of First Listed Plaintiff        Multnomah                              Countv of Residence of First Listed Defendant
                                (EXCEPT IN US. PLAINTIFF CASES)                                                                       (IN VS. PLAINTIFF CASES ONLY)
                                                                                                                  NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                            LAND INVOLVED.


                                                                                                         Attorneys (IfKnown)                   — -. ^                             a sv

5200 SW Meadows Rd, Ste 150                                                                                                 CV11-532                                              AC
Ij** Omma OR 87035 5Q3-a7ft«r74 <*t 216
II. BASIS OF JURISDICTION                             (Place a "X* inOne BoxOnly)             m. CITIZENSHIP OF PRINCIPAL PARTTES(Flace an-X- inOne Boxfa Plauatff
                                                                                                      (ForDivenity Cam Only)                                         andOne Box fa Defendant)
0 1 U.S. Government                    8 3 Federal Question                                                                     FTF     DEF                                          RTF        DEF
            FWntiff                            (U.S.Oovenmeatl4otaP«ty)                          Citizen of This State          Ol      O 1     Incorporated or Principal Place          O 4    (3 4
                                                                                                                                                ofBusiness In This Stale


O 2       U.S. Government              O 4 Diversity                                             CitizenofAnotherState          3 2     (3 2    Incorporated awrf Principal Place        O 5    O i
                                                                                                                                                  ofBosiness In Another State
            Deftndaat                           (Indicate OtizensrupofPiromm Item in)
                                                                                                 Citim orSubject of a           0 3     O 3 Foreign Nation                               O 6    0 6
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o   no                                 PERSONAL INJURY                 PERSONAL INJURY              610 >                         a 422 Appeal 28 USC158                400 S
O   120 Marine                          310 Airplane               O   362 Personal Injury-         620 Other Food 4 Drug         O 423 Withdrawal                      410/
O   130 Muler Act                       313 AirplaneProdnct                Med Malpractice          625 DragRelatedSeine                  28 USC 157                    4301
O   140Nss«Xiable                           Liability              •   365 Personalrajary -             ofProperty21USCHl                                               450Qnanerce
O 150RecoveryofOverpayment              320 Assault, Libel ft              PiDovctUabOiiy           630 Liquor Laws                                                     464 Deputation
                                            Slander                O   36SAsbes«oe Personal         640 R.R. ft Track             O 820Copyrights                       4701
O 131 Medicare Act                      330 FederalEmployers'              InjuryProdnct            650 Airbae Regs.              a 830Patent                               CorraptOiganiarions
O 132RecoveryofDefended                     Liability                      liability                6^WOccupational               O 840 Trademark                       480 Consumer Credit
          Student Loans                 340 Marine                  PERSONAL PROPERTY                  Safety/Health                                                    490CabkVSatTV
     (Eid Veterans)                     345 Marine Prodnct         O 370 Other Fraud                690Other                                                            810 Selective Service
O 133Recovery ofOverpayment                 Liability              O 371 Tnnlim Lending                                                                                 850 S
      ofVeteran's Benefit!              350 Mow Vehicle            O   380 Other Personal           710 Faff Labor Standards      O 86IHIA(i395fl)
O 1«> Stockholders'Sons                 355 Mote Vesicle                   Property Deniagc             Act                       O 862 Black Lung (923)                875 (
O 190 Other Contract                        ProdnrtliabiHty        O 385 PropertyDamage             720 Ubot/Mgmt Relations       O 863 DIWC/DIWW (405(g))                  12 USC 3410
O 193Contract Prodnct Liability         360 Other Personal               ProductLiability           730 Ubor/MgntJteportiug       O 864 SSID Tide XVI                   890 Oner Statutory Actions
O 196Franchise                                                                                          ft Disclosure Act              8651                             891 AgriculturalActs
                                                                                                    740 RaOwayLabor Act                                                 892EcononncStsba1zaticaAct
O210I                              O 441Voting                     3   510 Motions to Vacate        790OoteUtorUtigarion                                                893 Environasental Matters
02201                              O 442 Employmant                                                 791 Empt Ret Inc.                                                   894 Energy Allocation Act
O 230 Rent Leaseft Ejectment       O 443 Hooting/                      lubtsi Carres:                   Security Act                                                    895 Freedom ofIntonation
O 240 Torts to Land                                            3       530 General                                                                                          Act
O 245 Tort ProdnctLiability        a    444Wetfere             O       535 Death Penalty                                                                                900AppealofFeeI
O 290 ADOtherReal Property         O    445Annx.w/DiasJn1nies- 3       540 Mandamus A Other                                                                                 Under Eoaal Access
                                           EiinjiloyuMiat      9       550 Civil Rights                                                                                     to Justice
                                   O    446Amer.w/Di»soilines- 3       555 Prison Condition                                                                             950 Constitotionaay of
                                           Other                                                   I 4UC4her Immigration                                                    Stale Statutes
                                   O    440 Other avil Rights                                           Actions




V. ORIGIN                    (Place an"X" inOneBoxOnly)                                                                      T^|.,^, Bjm,                                           Appealto
                                                                                                                                                                                    tflfs—,District
fill Original               fl 2 Removedfiom               O 3 Ra«ndedfrorn                 O 4 Retatetodor Q 5 ]^^^T 0 6 MuWdJsnict O 7 {SS?
          Proceeding            State Court                       Appellate Court                Reopened
                                                                                                       towifr)
                                          CitedieU.S.Civil Statute under whichyouarefiling QtowXdtetuihaktk^tMtmnwrtm»n*#jy.
VI. CAUSE OF ACTION Briefdescriptionofcause:
                                            15 USC 1692

VII. REQUESTED IN                         O CHECKIFTHIS IS A CLASS ACTION                           DEMANDS                                   CHECK YES only ifdemanded in complaint
          COMPLAINT:                           UNDER F.R.C.P. 23                                                                              JURY DEMAND:                 u*Yes         ONo
Vffl. RELATED CASE(S)
            D7ANY                                                                                                                      DOCKET NUMBER
